                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

    PARAGON COMPONENT                           )
    SYSTEMS, LLC,                               )
                                                )
                Plaintiff,                      )
                                                )
    v.                                          )    Case No.: 1:24-cv-00246-CEA-CHS
                                                )
    QUALTIM, INC., CENTER FOR                   )
    BUILDING INNOVATION, LLC,                   )
    DRJ ENGINEERING, LLC,                       )
    INSPIRED PURSUITS, LLC,                     )
    KIRK GRUNDAHL, and                          )
    SUZANNE GRUNDAHL,                           )
                                                )
                Defendants.                     )

  PLAINTIFF’S MOTION FOR A LIMITED INITIAL JURISDICTIONAL DISCOVERY
              PERIOD AND TO STAY DEADLINE TO RESPOND TO
                    DEFENDANTS’ MOTION TO DISMISS

         Plaintiff Paragon Component Systems, LLC moves this Court for an Order granting leave

 to conduct limited jurisdictional discovery for a 75-day period solely for the purposes of

 responding to the allegations of Defendants’ Motion to Dismiss (Doc. 21), and to stay the current

 deadline to respond to the Motion until 30 days after the completion of this limited initial

 jurisdictional discovery period. In support of its Motion, Plaintiff files a Memorandum of Law

 herewith. Plaintiff has conferred with Defendants, who oppose the relief sought by this motion.

 Respectfully submitted this 24th day of October, 2024.

                                             /s/ James T. Williams
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                                             Robert F. Parsley, TN BPR 23819
                                             Erin E. Steelman, TN BPR 38463
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                                 CERTIFICATE OF SERVICE

        I certify that on October 24, 2024 a copy of the foregoing Plaintiff’s Motion for a Limited

 Initial Jurisdictional Discovery Period and to Stay Deadline to Respond to Defendants’ Motion to

 Dismiss is being served on all counsel of record by electronically filing it via the Court’s filing

 system.

                                              MILLER & MARTIN PLLC

                                              /s/ James T. Williams
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